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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

                                        :
ANTHONY PINSON,
                                        :
                     Plaintiff,               Civ. Action No. 19-17227 (KM) (ESK)
              v.                        :
SHARMALIE      PERERA,     M.D., :            NOTICE OF DEFENDANTS’ MOTION TO
SANDRA      CONNOLLY,      M.D.,              DISMISS PURSUANT TO FED. R. CIV. P.
PATRICK NOGA, WILLIE BONDS,                   12(b)(6)
                                  :
MARCUS O. HICKS, ESQ., Acting
Commissioner   of  New     Jersey
Department of Corrections, NEW :
JERSEY     DEPARTMENT         OF
CORRECTIONS, JOHN DOES 1-24,
RUTGERS       UNIVERSITY        -
UNIVERSITY      CORRECTIONAL
HEALTH,

                     Defendants


       TO:    Poreda Law
              Michael Poreda, Esq.
              50 Division Street, Suite 501
              Somerville, NJ 08876
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       PLEASE TAKE NOTICE that on November 18, 2019, the undersigned Gurbir S. Grewal,

Attorney General of New Jersey, by Travis M. Anderson, Deputy Attorney General, as Attorney for

Defendants Acting Commissioner Marcus O. Hicks, Director Willie Bonds, Administrator Patrick

Nogan, and New Jersey Department of Corrections, shall move before the Honorable Kevin

McNulty, U.S.D.J., in the United States Court House in Newark, New Jersey for an Order dismissing

Plaintiff’s Complaint pursuant to Fed. R. Civ. P. 12(b)(6). Defendants will rely on the Brief in

Support of Motion being filed simultaneously herewith.

       A proposed form of Order is attached hereto.



                                            GURBIR S. GREWAL
                                            ATTORNEY GENERAL OF NEW JERSEY


                                            By: s/ Travis M. Anderson
                                                Travis M. Anderson
                                                Deputy Attorney General


Dated: October 15, 2019
